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ATTACHMENT A

STIPULATION OF FACTS

The undersigned parties stipulate and agree that if this case had proceeded to trial, this
Office would have proven the following facts beyond a reasonable doubt. The undersigned parties
also stipulate and agree that the following facts do not encompass all of the evidence that would
have been presented had this matter proceeded to trial.

On March 26, 2019, the Defendant, RONDELL HENRY (“HENRY”), left his workplace
in Germantown, Maryland, in the middle of the workday. While driving in Virginia, HENRY
observed a U-Haul van. HENRY followed the U-Haul to a parking garage in Alexandria, Virginia.
After the driver departed the area, HENRY stole the U-Haul, leaving his personal vehicle in the
parking garage.

HENRY continued to drive in the stolen U-Haul around metropolitan Washington, D.C..,
area, including Maryland and Virginia. At approximately 5:00 a.m. on March 27, 2019, HENRY
traveled in the U-Haul to Dulles International Airport (“Dulles” and “the airport’), an airport
serving international civil aviation, in Virginia. After arriving there, HENRY entered the terminal
building. HENRY unsuccessfully attempted to follow another individual into a restricted area of
the airport, but the other individual prevented HENRY from entering the restricted area.

HENRY left Dulles in the U-Haul and continued to drive in the metropolitan Washington,
D.C., area. Later on the morning of March 27, 2019, HENRY drove to the National Harbor in
Maryland, where HENRY parked the U-Haul.

On March 27, 2019, the U-Haul that HENRY stole was located at National Harbor. On
March 28, 2019, members of the Prince George’s County Police Department located and arrested
HENRY at National Harbor.

During an interview following his arrest, on April 3, 2019, HENRY told law enforcement
that he went to the airport because he “was trying to hurt people there” and he “was going to try
to drive through a crowd of people.” HENRY further stated that “there wasn’t a big enough
crowd” at the airport.

Driving through a crowd of people at Dulles was likely to endanger safety at that airport
and to cause serious bodily injury or death. By stealing the U-Haul and driving it to Dulles to use

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it to drive through a crowd of people, HENRY took a substantial step in an effort to accomplish

this crime.

SO STIPULATED:

Rev. August 2018

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